           Case 6:20-bk-10759-WJ Doc 79 Filed 03/17/22                                            Entered 03/17/22 21:15:43                        Desc
                               Imaged Certificate of Notice                                       Page 1 of 4
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 20-10759-WJ
Tomaso Giannelli                                                                                                       Chapter 13
Melanie Giannelli
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0973-6                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Mar 15, 2022                                               Form ID: van111                                                           Total Noticed: 42
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 17, 2022:
Recip ID                 Recipient Name and Address
db/jdb                 + Tomaso Giannelli, Melanie Giannelli, 50 Bowridge Dr, Richmond Hill, GA 31324-7258
cr                     + Quicken Loans Inc., Wright, Finlay & Zak, LLP, c/o Arnold L Graff, Esq., SBN 269170, 4665 MacArthur Court, Ste 200, Newport Beach,
                         CA 92660-1811
cr                     + Rocket Mortgage, LLC f/k/a Quicken Loans, LLC f/k/, Wright, Finlay & Zak, LLP, 4665 MacArthur Court, Suite 200, Newport Beach, CA
                         92660-1811
40119203               + Bank of America, 4909 Savarese Circle, Fl1-908-01-50, Tampa, FL 33634-2413
40223574               + Bank of America, N.A., P O Box 982284, El Paso, TX 79998-2284
40119209               + Sofi Lending Corp, Attn: Bankruptcy, 375 Healdsburg Avenue Suite 280, Healdsburg, CA 95448-4151
40119210               + Suntrust Bank/GreenSky, Attn: Bankruptcy, Po Box 29429, Atlanta, GA 30359-0429
40119215               + USAA Federal Savings Bank, Attn: Bankruptcy, 10750 Mcdermott Freeway, San Antonio, TX 78288-1600
40119217               + Wells Fargo Bank NA, Attn: Bankruptcy, 1 Home Campus Mac X2303-01a, Des Moines, IA 50328-0001

TOTAL: 9

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                  Notice Type: Email Address                                    Date/Time                 Recipient Name and Address
smg                       Email/Text: itcdbg@edd.ca.gov
                                                                                        Mar 16 2022 00:28:00      Employment Development Dept., Bankruptcy
                                                                                                                  Group MIC 92E, P.O. Box 826880, Sacramento,
                                                                                                                  CA 94280-0001
smg                       Email/Text: BKBNCNotices@ftb.ca.gov
                                                                                        Mar 16 2022 00:28:00      Franchise Tax Board, Bankruptcy Section MS:
                                                                                                                  A-340, P.O. Box 2952, Sacramento, CA
                                                                                                                  95812-2952
cr                     + Email/Text: RASEBN@raslg.com
                                                                                        Mar 16 2022 00:28:00      USAA Federal Savings Bank, Robertson,
                                                                                                                  Anschutz, Schneid, Crane & Pa, 10700 Abbotts
                                                                                                                  Bridge Road, Suite 170, Duluth, GA 30097-8461
40119202                  Email/Text: ebnbankruptcy@ahm.honda.com
                                                                                        Mar 16 2022 00:28:00      American Honda Finance, Attn: Bankruptcy, Po
                                                                                                                  Box 168088, Irving, TX 75016
40126849                  Email/Text: ebnbankruptcy@ahm.honda.com
                                                                                        Mar 16 2022 00:28:00      American Honda Finance Corporation, National
                                                                                                                  Bankruptcy Center, P.O. Box 168088, Irving, TX
                                                                                                                  75016-8088
40335149                  Email/PDF: bncnotices@becket-lee.com
                                                                                        Mar 16 2022 00:34:45      American Express National Bank, c/o Becket and
                                                                                                                  Lee LLP, PO Box 3001, Malvern PA 19355-0701
40142852               + Email/PDF: bncnotices@becket-lee.com
                                                                                        Mar 16 2022 00:34:35      Amex, Correspondence Bankruptcy, PO Box
                                                                                                                  981540, El Paso TX 79998-1540
40142851               + Email/Text: BarclaysBankDelaware@tsico.com
                                                                                        Mar 16 2022 00:28:00      Barclays Bank Delaware, PO Box 8803,
                                                                                                                  Wilmington DE 19899-8803
40119205               + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Mar 16 2022 00:34:56      Citibank, Attn: Recovery/Centralized Bankruptcy,
                                                                                                                  Po Box 790034, St Louis, MO 63179-0034
40119206                  Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Mar 16 2022 00:34:56      Citibank North America, Citibank SD MC 425,
                                                                                                                  5800 South Corp Place, Sioux Falls, SD 57108
40242193                  Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Mar 16 2022 00:34:56      Citibank, N.A., 5800 S Corporate Pl, Sioux Falls,
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District/off: 0973-6                                        User: admin                                                        Page 2 of 3
Date Rcvd: Mar 15, 2022                                     Form ID: van111                                                  Total Noticed: 42
                                                                                                 SD 57108-5027
40142853          + Email/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM
                                                              Mar 16 2022 00:28:00               Comenity Bank Victoria Secret, Attn: Bankruptcy,
                                                                                                 PO Box 182125, Columbus OH 43218-2125
40142854          + Email/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM
                                                              Mar 16 2022 00:28:00               Comenity Capital Bank HSN, Attn: Bankruptcy
                                                                                                 Dept, PO Box 182125, Columbus OH 43218-2125
40142855          + Email/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM
                                                              Mar 16 2022 00:28:00               Comenity Capital Blnle, Attn: Bankruptcy Dept,
                                                                                                 PO Box 182125, Columbus OH 43218-2125
40142856          + Email/Text: BNC-ALLIANCE@QUANTUM3GROUP.COM
                                                              Mar 16 2022 00:28:00               Comenity Capital Ulta, Attn: Bankruptcy Dept, PO
                                                                                                 Box 182125, Columbus OH 43218-2125
40193105          + Email/Text: bankruptcy@greenskycredit.com
                                                                          Mar 16 2022 00:28:00   Greensky, LLC, 1797 Northeast Expressway Suite
                                                                                                 100, Atlanta, GA 30329-2451
40238328            Email/Text: JCAP_BNC_Notices@jcap.com
                                                                          Mar 16 2022 00:28:00   Jefferson Capital Systems LLC, Po Box 7999,
                                                                                                 Saint Cloud Mn 56302-9617
40119204            Email/PDF: ais.chase.ebn@aisinfo.com
                                                                          Mar 16 2022 00:34:33   Chase Card Services, Attn: Bankruptcy, Po Box
                                                                                                 15298, Wilmington, DE 19850
40154027          + Email/Text: RASEBN@raslg.com
                                                                          Mar 16 2022 00:28:00   JPMorgan Chase Bank, N.A., s/b/m/t Chase Bank
                                                                                                 USA, N.A., c/o Robertson, Anschutz & Schneid,
                                                                                                 P.L., 6409 Congress Avenue, Suite 100, Boca
                                                                                                 Raton, FL 33487-2853
40335124            Email/PDF: resurgentbknotifications@resurgent.com
                                                                          Mar 16 2022 00:34:56   LVNV Funding LLC, c/o Resurgent Capital
                                                                                                 Services, PO Box 10587, Greenville, SC
                                                                                                 29603-0587
40235351            Email/PDF: resurgentbknotifications@resurgent.com
                                                                          Mar 16 2022 00:34:37   LVNV Funding, LLC, Resurgent Capital Services,
                                                                                                 PO Box 10587, Greenville, SC 29603-0587
40119207          + Email/Text: ZyCredit.A.User@lesschwab.com
                                                                          Mar 16 2022 00:28:00   Les Schwab Tire Center, P.O. Box 5350, Bend, Or
                                                                                                 97708-5350
40241782            Email/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com
                                                                    Mar 16 2022 00:34:36         Portfolio Recovery Associates, LLC, c/o Barclays
                                                                                                 Bank Delaware, POB 41067, Norfolk VA 23541
40119208          + Email/Text: bankruptcyteam@quickenloans.com
                                                                          Mar 16 2022 00:28:00   Quicken Loans, Attn: Bankruptcy, 1050
                                                                                                 Woodward Avenue, Detroit, MI 48226-3573
40171164          + Email/Text: bankruptcyteam@quickenloans.com
                                                                          Mar 16 2022 00:28:00   Quicken Loans Inc., 635 Woodward Avenue,
                                                                                                 Detroit, MI 48226-3408
40241934            Email/Text: lhunsaker@sofi.org
                                                                          Mar 16 2022 00:28:00   SoFi Lending Corp, 2750 E Cottonwood Pkwy
                                                                                                 Suite 300, Cottonwood Heights, UT 84121
40119211          + Email/PDF: gecsedi@recoverycorp.com
                                                                          Mar 16 2022 00:34:34   Syncb/PPC, Attn: Bankruptcy, Po Box 965060,
                                                                                                 Orlando, FL 32896-5060
40240716          + Email/PDF: gecsedi@recoverycorp.com
                                                                          Mar 16 2022 00:34:34   Synchrony Bank, c/o PRA Receivables
                                                                                                 Management, LLC, PO Box 41021, Norfolk VA
                                                                                                 23541-1021
40119212          + Email/PDF: gecsedi@recoverycorp.com
                                                                          Mar 16 2022 00:34:55   Synchrony/Ashley Furniture Homestore, Attn:
                                                                                                 Bankruptcy, Po Box 965060, Orlando, FL
                                                                                                 32896-5060
40134933            Email/Text: jaxbanko@td.com
                                                                          Mar 16 2022 00:28:00   TD Auto Finance LLC, P.O. Box 16041,
                                                                                                 Lewiston, ME 04243-9523
40119213          + Email/Text: jaxbanko@td.com
                                                                          Mar 16 2022 00:28:00   Td Auto Finance, Attn: Bankruptcy, Po Box 9223,
                                                                                                 Farmington Hilss, MI 48333-9223
40119214            Email/Text: RPSBankruptcyBNCNotification@usbank.com
                                                                          Mar 16 2022 00:28:00   US Bank, Attn: Bankruptcy, 800 Nicollet Mall,
                                                                                                 Minneapolis, MN 55402
40221565          + Email/Text: RASEBN@raslg.com
                                                                          Mar 16 2022 00:28:00   USAA FEDERAL SAVINGS BANK, C/O
                                                                                                 WEINSTEIN & RILEY, PS, 10700 Abbott's
                                                                                                 Bridge Rd Ste 170, Duluth GA 30097-8461

TOTAL: 33
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Date Rcvd: Mar 15, 2022                                              Form ID: van111                                                      Total Noticed: 42

                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID             Bypass Reason Name and Address
intp                               Courtesy NEF
cr                                 TD Auto Finance LLC
cr                   *             LVNV Funding LLC, c/o Resurgent Capital Services, P.O. Box 10587, Greenville, SC 29603-0587
40119216             *+            USAA Federal Savings Bank, Attn: Bankruptcy, 10750 Mcdermott Freeway, San Antonio,, TX 78288-1600

TOTAL: 2 Undeliverable, 2 Duplicate, 0 Out of date forwarding address


                                                     NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 17, 2022                                           Signature:           /s/Joseph Speetjens




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 15, 2022 at the address(es) listed
below:
Name                                Email Address
Arnold L Graff
                                    on behalf of Creditor Quicken Loans Inc. agraff@wrightlegal.net bkudgeneralupdates@wrightlegal.net

Arnold L Graff
                                    on behalf of Creditor Rocket Mortgage LLC f/k/a Quicken Loans, LLC f/k/a Quicken Loans Inc. agraff@wrightlegal.net,
                                    bkudgeneralupdates@wrightlegal.net

Elizabeth Redmond
                                    on behalf of Interested Party Courtesy NEF notices@becket-lee.com

Julie J Villalobos
                                    on behalf of Debtor Tomaso Giannelli julie@oaktreelaw.com oakecfmail@gmail.com;villalobosjr51108@notify.bestcase.com

Julie J Villalobos
                                    on behalf of Joint Debtor Melanie Giannelli julie@oaktreelaw.com
                                    oakecfmail@gmail.com;villalobosjr51108@notify.bestcase.com

Rod Danielson (TR)
                                    notice-efile@rodan13.com

Sean C Ferry
                                    on behalf of Creditor USAA Federal Savings Bank sferry@raslg.com sferry@ecf.courtdrive.com

Sheryl K Ith
                                    on behalf of Creditor TD Auto Finance LLC sith@cookseylaw.com sith@ecf.courtdrive.com

United States Trustee (RS)
                                    ustpregion16.rs.ecf@usdoj.gov

Valerie Smith
                                    on behalf of Interested Party Courtesy NEF claims@recoverycorp.com


TOTAL: 10
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                                        United States Bankruptcy Court
                                          Central District of California
                                        3420 Twelfth Street, Riverside, CA 92501−3819

                                NOTICE OF REQUIREMENT TO FILE A DEBTOR'S
                         CERTIFICATION OF COMPLIANCE UNDER 11 U.S.C. §1328(a) AND
                                  APPLICATION FOR ENTRY OF DISCHARGE


    DEBTOR(S) INFORMATION:                                                 BANKRUPTCY NO. 6:20−bk−10759−WJ
    Tomaso Giannelli                                                       CHAPTER 13
    SSN: xxx−xx−0811
    EIN: N/A
    Melanie Giannelli
    SSN: xxx−xx−0129
    50 Bowridge Dr
    Richmond Hill, GA 31324



TO DEBTOR(S) AND DEBTOR(S)' ATTORNEY
Debtor(s) and/or debtor(s)' attorney is/are hereby notified that the debtor(s) must complete and file Debtor's Certification of
Compliance under 11 U.S.C. § 1328(a) and Application For Entry of Discharge before a discharge can be entered in the
above−captioned case. This form is available on the court's website at www.cacb.uscourts.gov.
Debtor(s) and /or debtor(s)' attorney is/are further notified that the Debtor's Certification of Compliance under 11 U.S.C. §
1328(a) and Application For Entry of Discharge must be filed within 30 days from the date of this notice. Failure to timely file the
certification will result in the case being closed without an entry of discharge. If the debtor(s) subsequently file(s) a Motion to
Reopen the case, the debtor(s) must pay the full reopening fee due for filing the motion.



                                                                                 BY THE COURT,
Dated: March 15, 2022                                                            Kathleen J. Campbell
                                                                                 Clerk of Court




(Form dnrotrf rev. 05/06 VAN−111                                                                                            76 / DR
